Case 8:19-cv-00816-JDW-CPT Document 15 Filed 09/24/19 Page 1 of 2 PageID 59




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

JONATHAN BEHRLE,

       Plaintiff,

-vs-                                             CASE NO.: 8:19-CV-00816-JDW-CPT

HOVG, LLC d/b/a BAY AREA CREDIT
SERVICE,

       Defendant.
                                       /


                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COMES NOW the Plaintiff, Jonathan Behrle, and the Defendant, HOVG, LLC d/b/a

Bay Area Credit Service, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to

dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the Defendant

in the above styled action, with Plaintiff and Defendant to bear their own attorney’s fees, costs

and expenses.

        Respectfully submitted this 24th day of September, 2019.

/s/ Jason R. Derry, Esquire                      /s/ Sangeeta Spengler, Esquire
Jason R. Derry, Esquire                          Sangeeta Spengler, Esquire
Florida Bar No.: 0036970                         Florida Bar No.: 0186864
Morgan & Morgan, Tampa, P.A.                     Golden Scaz Gagain, PLLC
One Tampa City Center                            201 North Armenia Avenue
201 North Franklin Street, 7th Floor             Tampa, FL 33609
Tampa, FL 33602                                  Telephone: (813) 251-5500
Telephone: (813) 223-5505                        Facsimile: (813) 251-3675
Facsimile: (813) 257-0577                        spspengler@gsgfirm.com
jderry@ForThePeople.com                          lbrooks@gsgfirm.com
jkneeland@ForThePeople.com                       Attorney for Defendant
Attorney for Plaintiff
Case 8:19-cv-00816-JDW-CPT Document 15 Filed 09/24/19 Page 2 of 2 PageID 60




                                CERTIFICATE OF SERVICE

       I hereby certify that on September 24, 2019, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System:        Sangeeta Spengler, Esq.,

GOLDEN SCAZ GAGAIN, PLLC, 201 North Armenia Avenue, Tampa, FL                              33609

(spspengler@gsgfirm.com).

                                                  /s/ Jason R. Derry, Esquire
                                                  Jason R. Derry, Esquire
                                                  Attorney for Plaintiff
